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Exhibit B
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United States District Court
District of New Jersey
Trenton Division

Andrew Ritz and Michael Ritz, Case No. 3:20-cv-13509-FLW-DEA
Plaintiffs,

Vv.

Nissan-Infiniti LT; Trans Union,
LLC; Equifax Information
Services, LLC; and Experian
Information Solutions, Inc.,

Defendants.

Notice of 30(b)(6) Deposition to Nissan
Duces Tecum

To: Nissan-Infiniti LT
So Steven L. Fox

sfox@lindabury.com

Please take NOTICE that Plaintiff requests that Defendant Nissan-Infiniti LT
(“Nissan”), designate one or more officers, directors, managing agents, or other
persons who consent to testify on its behalf pursuant to Federal Rule of Civil
Procedure 30(b)(6) to appear and testify as to the matters designated below at a
deposition beginning on January 28, 2022, 10:00 a.m., Eastern Time, upon oral
examination, for the purpose of discovery, for use at trial or for such other purposes

as are permitted under the Rules.
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The deposition will be conducted via Zoom with the witness or witnesses
participating remotely from a location of his/her or their choosing. The
examination will be recorded by stenographic means and will continue from day to
day until completed. Deposition exhibits will be displayed electronically. Counsel
for Defendant is instructed to have a device available for the witness which will
allow the witness to download documents from Dropbox and then access and view
those documents during the deposition. Deposition exhibits shall be provided to

counsel via Dropbox before or at the start of the deposition.
Designated Matters

1. Identify the Account Status, Balance, and Amount Past Due furnished by
Nissan in its periodic reporting to Trans Union, Equifax and Expertan in
August 2019, September 2019, October 2019, November 2019, December

2019, January 2020, and February 2020.

2. Did Nissan furnish any type of late payment / delinquency code or status in
its periodic reporting to Trans Union, Equifax or Experian in August 2019,
September 2019, October 2019, November 2019, December 2019, January
2020, or February 2020? If so, the witness should be prepared to identify
what codes or statuses were furnished, the date they were furnished and the

agency to which they were furnished.
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3. In your response to Experian’s ACDV (Nissan 000140-141), you returned

the following:

Field Code
Account Status 11

Balance $430
Amount Past Due $0

Date of Account Information 10-01-2019
Date of Last Payment 06-17-2019
Actual Payment $181
Account History 1 (Sep 2019)

3.1. On what date was the payment to which Account History 1 (Sep

2019) refers due?

3.2. What was the amount of the payment to which Account History = |
(Sep 2019) refers?

3.3. On what date did Nissan first furnish (either through its periodic
furnishing or in response to an ACDV) Account History * 1 (Sep
2019)?

3.4. Nissan responded to this ACDV on October |, 2019 (See
EXPERIAN 20-cv-13509 00478 MR). Between that date and the
Date of Last Payment — 06-17-2019, did Nissan receive any payments
on this account? If so, what payments were received and on what

dates were those payments received?
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3.5. Ifthe Sep 2019 payment was not paid, why did Nissan return Amount

Past Due — 0?

4. Nissan's working definition of the term “accuracy” as it relates to

compliance with the FCRA.

5. Nissan’s working definition of the term “integrity” as it relates to

compliance with the FCRA.

6. The witness should be prepared to testify about how Nissan’s CBM
determined that its furnishing of a late payment on Plaintiffs’ account was
accurate, including any standards and/or methodology! which it used to

make that determination.

7. The witness should also be prepared to identify any and all information upon
which the Nissan representatives who processed Nissan’s responses to
Plaintiffs’ disputes regarding the late payment reporting relied and had

access.

1 For purposes of this notice, the term “methodology” means as follows:
Methodology is the systematic, theoretical analysis of the methods applied to a
field of study. It comprises the theoretical analysis of the body of methods and
principles associated with a branch of knowledge. Typically, it encompasses
concepts such as paradigm, theoretical model, phases and quantitative or
qualitative techniques. A methodology does not set out to provide solutions - it 1s
therefore, not the same as a method. Instead, a methodology offers the theoretical
underpinning for understanding which method, set of methods, or best practices
can be applied to a specific case, for example, to calculate a specific result.
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10.

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How many times Nissan furnished Plaintiffs’ account as delinquent to any
consumer reporting agencies from August |, 2019 to the present. For each
time that Nissan furnished the account to the consumer reporting agencies as
delinquent, the witness should be prepared to identify the Metro 2 codes sent

by Nissan.

The witness should be prepared to identify and explain all service requests
related to the furnishing of Plaintiffs’ account as delinquent, including

whether or not those requests were processed by CBM and, if not, why not.
Whether Nissan possesses any consumer reports about Plaintiffs.

The procedures used by Nissan to respond to ACDVs it received from the
consumer reporting agencies about Plaintiffs or Plaintiffs’ credit files. The
witness should be prepared to discuss in detail all procedures actually
employed by any Nissan representative who played any role in processing
Plaintiffs’ requests for reinvestigation. The witness should be prepared to
detail exactly what each representative who processed an ACDV at issue in
this case did to process that ACDV, including the identification of all
procedures followed, procedures not followed that should have been
followed, all materials actually reviewed and all materials actually

considered by each representative for each ACDV.
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12. Nissan's policies and procedures for compliance with !5 U.S.C. 1681s-2(b)
as those policies and procedures relate to the processing of consumer

requests for reinvestigation.

13. All actions taken to investigate Plaintiffs’ disputes regarding the accuracy of
the Plaintiffs’ account (both direct disputes and disputes received from any
consumer reporting agency), including all electronic information reviewed,
documents reviewed and communications (including, internal email

communications) made during those investigations.

14. Nissan’s responses to Plaintiffs’ requests for production, including whether
Nissan has withheld any documents which would have been responsive to
those requests for any reason, including, without limitation, any of the
following reasons: (a) privilege; (b) confidentiality; (c} proprietary or trade
secret reasons; (d) relevance; (e) burden of production; or (f) ambiguity. The
witness should be prepared to identify any documents withheld by title, type,
author and date. The witness should also be prepared to explain in detail
why the document was withheld. The witness should be prepared to identify
all Nissan representatives who participated in any search for documents that

would be responsive to Plaintiffs’ requests for production.

15. Any and all communications between Nissan and Plaintiff.
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Any and all communications between Nissan and any consumer reporting
agency regarding Plaintiffs, Plaintiffs’ credit files, or Plaintiffs’ account.
Any recommended changes or revisions to any procedure which Nissan
intends to defend as reasonable in this case.

The allegations and facts discussed in Plaintiffs’ complaint filed in this
lawsuit.

Nissan’s Answer, affirmative defenses, and responses to interrogatories,
requests for production of documents and requests for admission.

Nissan’s account history, records and reports, including but not limited to the
opening of the account, and the charges made and payments received on the
account, all activity on the account.

Any and all CDVs, ACDVs, UDFs and AUDFs bearing any of Plaintiffs’

identifiers and/or the account.

The date on which Nissan received the letter from Freehold Nissan, dated

September 24, 2019.
The date on which Plaintiffs’ returned the vehicle to Freehold Nissan.

The reasons why Freehold Nissan did not ground the vehicle on August 9,

2019.
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25. The witness should be prepared to explain all charges shown on the
September 18, 2019 Billing Summary (Nissan 000015) and the September

27, 2019 End of Lease Liability Statement (Ritz 000274).

26% Regarding the charge which is the basis of Nissan’s late payment reporting,
the witness should be prepared to identify the amount of the charge, explain
how the amount was calculated, explain Nissan’s contractual right to make
the charge, identify the due date for that charge, and explain why Nissan

ultimately decided to waive that charge.

27. The witness should be prepared to explain and interpret Nissan’s account
notes related to Plaintiffs’ account from August 9, 2019 to the date Nissan

stopped furnishing the account as delinquent.

28. The witness should be prepared to testify regarding whether or not any CBM
representative received any sort of reprimand or corrective action for their
failure to process any of the service requests which instructed CBM to stop

furnishing the late payment.

29. The witness should be prepared to testify regarding whether Tanya Messmer
received any sort of reprimand or corrective action for her override of
CBM’s refusal to process her service request directing CBM to stop

furnishing the late payment.
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Documents

l. The service requests identified by Tanya Messmer during her deposition in

this case.

2 Any text or email correspondence to or from Tanya Messmer regarding any
of the service requests identified by Tanya Messmer during her deposition in

this case.

Respectfully submitted,

/s/Guerino Cento

Guerino Cento

CENTO LAW

5666 Carrollton Avenue
Indianapolis, Indiana 46220
(317) 908-0678
cento(aicentolaw.com

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Certificate of Service

I hereby certify that the foregoing was served to all parties via electronic

mail January 25, 2022.

/s/Guerino Cento
Guerino Cento

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